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     BERKELEY, CALIFORNIA, and PAUL
10   BUDDENHAGEN

11                             UNITED STATES DISTRICT COURT

12                            NORTHERN DISTRICT OF CALIFORNIA

13                                SAN FRANCISCO DIVISION

14   REALPAGE, INC.,                             Case No. 3:25-cv-03004-JSC

15               Plaintiff,                      DEFENDANTS’ RESPONSE TO
                                                 PLAINTIFF’S SUPPLEMENTAL
16         v.                                    DECLARATION IN SUPPORT OF
                                                 MOTION FOR TEMPORARY
17   THE CITY OF BERKELEY, CALIFORNIA,           RESTRAINING ORDER
     and PAUL BUDDENHAGEN, CITY
18   MANAGER OF BERKELEY,
     CALIFORNIA, in his official capacity,       Date:       April 16, 2025
19                                               Time:       11:30 a.m.
                 Defendants.                     Dept.:      8—19th Floor (via Zoom)
20                                               Judge:      Hon. Jacqueline Scott Corley

21                                               Date Filed: April 2, 2025

22                                               Trial Date: Not Set

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 1   I.      INTRODUCTION

 2           RealPage’s supplemental submission, for the first time, seeks to convince the Court that it

 3   does not violate Berkeley’s Ordinance as written. Berkeley’s Ordinance proscribes the sale and

 4   use of software that allows for “direct or indirect coordination” among landlords in setting prices.

 5   RealPage now contends that its software does not facilitate such coordination, in effect seeking a

 6   preliminary ruling that its software likely does not constitute anticompetitive conduct. But even if

 7   that were true, it would not establish that the Ordinance is likely unconstitutional. It would also

 8   mean that the Ordinance does not cover RealPage, undermining its entitlement to an order

 9   restraining the law. In any event, the City has agreed to temporarily stay enforcement, leaving no

10   doubt that RealPage will face no irreparable injury while the parties brief and the Court rules on a

11   preliminary injunction motion.

12           First, the Ordinance’s constitutionality turns on what the Ordinance prohibits, not on

13   whether RealPage’s allegedly new software formula violates it. Of course, if RealPage’s software

14   constitutes an antitrust violation, it would be sufficient to show both its liability under the

15   Ordinance and that any speech lacks First Amendment protection. But finding liability is not

16   necessary to reject RealPage’s pre-enforcement challenge to the Ordinance as unconstitutional.

17   Instead, in this posture, RealPage must initially show that the Ordinance targets speech protected

18   by the First Amendment. It cannot do so. The Ordinance prohibits the sale and use of products

19   that facilitate unlawful anticompetitive conduct. As such, any associated speech would not be

20   entitled to constitutional scrutiny.

21           Second, if RealPage’s software does not facilitate such direct or indirect pricing

22   coordination, as it contends, see Dreyfuss Supp. Decl. ¶ 14, it would fall outside the Ordinance’s

23   scope and would face no risk of irreparable harm from an inapplicable law. RealPage’s

24   statements that it does not intend to engage in the proscribed conduct are fatal to a claim of pre-

25   enforcement standing.

26           Third, even if the nature of RealPage’s software were necessary to resolve, it has failed to

27   meet its burden of showing its software no longer enables unlawful coordination. Its submission

28   claims that the product offered in Berkeley is brand new, involves no non-public data, seeks to

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 1   lower rents, and therefore does not embody an antitrust violation. Because these late-breaking

 2   factual allegations, which appeared nowhere in RealPage’s Complaint, TRO application, TRO

 3   Reply, or at oral argument, are contradicted by numerous other facts, discussed below, RealPage

 4   would still fail to carry its burden of likelihood of success.

 5          Finally, as RealPage is aware, Berkeley has offered, and hereby formally declares, that it

 6   will voluntarily stay enforcement of the ordinance against RealPage to allow the parties to litigate

 7   and this Court to resolve, in an orderly fashion and on a suitable record, any application for a

 8   preliminary injunction. See Declaration of Farimah Brown ¶ 6 (“Brown Decl.”). This voluntary

 9   stay will maintain the status quo and leave no doubt that RealPage faces no risk of irreparable

10   harm in the interim. For each of the foregoing reasons, and for all of them, this Court should

11   deny RealPage’s TRO application.

12   II.    BACKGROUND
13          A.      Procedural History
14          On April 3, 2025, Plaintiff RealPage, Inc. (“RealPage”) filed a motion for a temporary

15   restraining order against the City of Berkeley’s Ordinance prohibiting algorithms that allow

16   landlords to directly or indirectly coordinate rental rates. Its motion asserted that its First

17   Amendment rights would be burdened because, it claimed, the Ordinance prohibited the mere

18   lawful sharing of pricing information and recommendations via algorithm and thereby targeted

19   core expressive speech without narrow tailoring to Berkeley’s interests. See ECF No. 12. The

20   City argued that RealPage had attempted to rewrite the Ordinance and had omitted key language

21   that properly limits its scope to preventing the sale and use of software that allows for “direct or

22   indirect coordination” among landlords in setting prices—that is, to price coordination via

23   algorithm. See ECF No. 30.

24          During the April 16, 2025 hearing on its motion, RealPage represented to the Court for the

25   first time that it had recently changed its product to bring it into compliance with a similar

26   ordinance passed by San Francisco. See TRO Hearing Tr. at 18:3–7 (“The company has changed

27   the way in which the software operates in response though, among other reasons, to the San

28   Francisco ordinance that was enacted back in October.”).

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 1          Following the hearing, counsel for the City of Berkeley requested a demonstration of

 2   RealPage’s software and an opportunity to ask questions about the alleged changes to RealPage’s

 3   product. Brown Decl. ¶ 5. RealPage declined to provide a demonstration in advance of the

 4   submission deadline for this supplemental brief. Id. RealPage does not make its revenue

 5   management software programs available to the public. As a result, RealPage has effectively

 6   prevented the City of Berkeley from conducting any analysis to test the representations in the

 7   declaration. Nonetheless, the City committed to staying enforcement of the Ordinance against

 8   RealPage until the Court can resolve a motion for a preliminary injunction or for 60 days, if no

 9   motion for a preliminary injunction is filed within that time. Id. ¶ 6. This voluntary stay

10   eliminates the possibility of any harm to RealPage and negates RealPage’s claimed need for a

11   TRO.

12          B.      RealPage’s Supplemental Declaration
13          On April 18, 2025, RealPage filed a five-page Supplemental Declaration of Amy Dreyfuss

14   (“Supp. Dreyfuss Decl.”) purporting to show how RealPage’s product has changed since the

15   filing of numerous class actions and lawsuits by the Department of Justice and state attorneys

16   general alleging that RealPage’s software violates federal antitrust laws. The supplemental

17   declaration states that after the end of 2024, RealPage did not use non-public lease transaction

18   data to recommend rents through YieldStar, one of the two revenue management software

19   products RealPage currently offers in Berkeley. Supp. Dreyfus Decl. ¶ 8. However, RealPage

20   concedes that one of its core products, AI Revenue Management (“AIRM”), allows Berkeley

21   residents to use artificial intelligence trained on “non-public lease transaction data” to obtain

22   recommended rents.1 Id. ¶ 11.

23          There are ample reasons for the Court to look skeptically on the representations in the

24
     1
25     According to RealPage, its AIRM program offers additional features: AI Supply I, AI Supply II,
     and AI Demand “to fine tune certain components of the supply-and-demand forecasting.” Id. ¶
26   11. This AI was “last trained between 2022 and 2024” on “non-public lease transaction data”
     before the date RealPage alleges it “fully transitioned away from using actual lease transaction
27   rent data as an input in its revenue management products.” Id. ¶¶ 8, 11. RealPage states that this
     data is not used “in the software’s runtime operations,” id. ¶ 11, but presents no evidence that its
28   AIRM product is not still using the non-public competitor data it was trained on to recommend
     rents to other landlords.
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 1   declaration. RealPage’s declaration is replete with examples of how its algorithm allegedly

 2   lowers rents. Id. ¶¶ 8–9. While RealPage seeks to leave the Court with the impression that its

 3   model frequently recommends lower rents to landlords, RealPage to this very day tells landlords

 4   precisely the opposite. RealPage’s website advertises that using its software will allow landlords

 5   to “maximize their revenue potential” and outperform the market by “2–4%.”2 The supplemental

 6   declaration also omits mention of facts that are crucial to understanding whether RealPage’s

 7   software facilitates anticompetitive coordination between landlords. For instance, the

 8   supplemental declaration states that customers “retain complete discretion . . . to accept or reject

 9   any rent recommendations,” see id. ¶ 10, but includes no discussion of the role of RealPage’s

10   pricing advisors, who enforce adherence to RealPage’s pricing recommendations. See In re

11   RealPage, Inc., Rental Software Antitrust Litig. (No. II), 709 F. Supp. 3d 478, 496 (M.D. Tenn.

12   2023). RealPage’s declaration failed to disclose that it has maintained a “multi-layered

13   monitoring system,” including “pricing advisors or revenue managers, employed by RealPage,

14   who closely monitor clients’ conformance with RealPage’s pricing recommendations, including

15   through reviewing client pricing recommendations daily and issuing weekly reports.” Id.

16   RealPage also failed to disclose that AIRM and YieldStar have employed “auto-accept” functions

17   that push landlords to accept its recommended rents. See ECF No. 30-2 ¶¶ 61–68 (“DOJ

18   Amended Complaint”). It does not assert that its product no longer contains these anticompetitive

19   features.

20            Finally, RealPage seeks to leave the Court with the impression that YieldStar is its

21   primary product, and the artificial intelligence features of AIRM are rarely used. But RealPage

22   failed to disclose to the Court that it had (and may still have) plans to sunset YieldStar and

23   replace it entirely with the AI-driven approach of AIRM. See id. ¶¶ 14, 173.

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28   2
         https://www.realpage.com/asset-optimization/revenue-management.
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 1   III.   DISCUSSION

 2          A.       Likelihood of Success on the Merits

 3                   1.     The Ordinance’s Prohibition on Coordination Between Landlords
                            Merely Prohibits Unlawful Price-Fixing.
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            As RealPage now seems to acknowledge, the Ordinance prohibits only those algorithms
 5
     that facilitate pricing coordination between landlords. The Ordinance proscribes only (1)
 6
     “analytical or computation processes”; (2) “that use data to recommend or predict the price of
 7
     consumer goods or services”; (3) “in direct or indirect coordination with one or more
 8
     competitors.” Ordinance § 13.63.020(A). That is the very definition of price-fixing, which lies at
 9
     the heart of the Sherman Act. See Catalano, Inc. v. Target Sales, Inc., 446 U.S. 643, 647 (1980). It
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     is irrelevant that the actor uses a computer to facilitate volume price fixing—as former Deputy
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     U.S. Attorney General Lisa Monaco put it, “training a machine to break the law is still breaking
12
     the law.”3 For example, airlines in the 1990s used software to facilitate price fixing. See, e.g.,
13
     United States v. Airline Tariff Pub. Co., 836 F. Supp. 9, 10 (D.D.C. 1993) (analyzing settlement
14
     agreement in antitrust action against airlines); see also Duffy v. Yardi Sys., Inc., No. 2:23-CV-
15
     01391-RSL, 2024 WL 4980771, at *7 (W.D. Wash. Dec. 4, 2024); Meyer v. Kalanick, 174 F.
16
     Supp. 3d 817, 822–24 (S.D.N.Y. 2016). It is also irrelevant whether the actors use nonpublic or
17
     public data, so long as there is an agreement with intent to coordinate. See In re Citric Acid
18
     Litig., 191 F.3d 1090, 1103 (9th Cir. 1999) (possession of competitor information, public or not,
19
     is consistent with conspiracy but does not alone establish it); Flannery Assocs. LLC v. Barnes
20
     Fam. Ranch Assocs., LLC, 727 F. Supp. 3d 895, 912–13 (E.D. Cal. 2024) (“[T]he exchange of
21
     information may be considered a plus factor that supports a finding of conspiracy.” (citation
22
     omitted)). The core conduct prohibited by the ordinance is a per se price fixing antitrust
23
     violation.4
24
            Judge Lasnik of the Western District of Washington has held that a revenue management
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     3
       ECF No. 30-4, Kanig Decl., Ex. 3—U.S. DOJ, “Justice Department Sues RealPage for
26   Algorithmic Pricing Scheme that Harms Millions of American Renters,” Aug. 23, 2024,
     tinyurl.com/5hapwd5p.
27   4
       Even so, the fact that the Ordinance may also reach more complex price-fixing conspiracies
28   prohibited by the Rule of Reason does not lessen the illegality of that conduct, which would
     likewise fall outside First Amendment protection.
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 1   software that uses an algorithm to recommend rents to landlords is a per se violation of the

 2   Sherman Act. See Duffy, 2024 WL 4980771, at *7. Judge Lasnik found that the software

 3   provider and the landlords signed the software agreements with the “intent to participate in a

 4   concerted scheme to raise, fix, or peg multifamily housing rental prices.” Id. (emphasis added).

 5   Judge Lasnik relied in part on the software provider’s ads to discern the conspirators’ intent, id. at

 6   *3, and found persuasive the evidence that prices would go up regardless of occupancy, id. at *4.

 7   The Ordinance targets the very conduct that the Duffy court held was a per se antitrust violation.

 8   Therefore, prohibiting speech, if any, that falls within the scope of the Ordinance cannot be a First

 9   Amendment violation. See, e.g., Pittsburgh Press Co. v. Pittsburgh Comm'n on Hum. Rels., 413

10   U.S. 376, 388–89 (1973); Int’l Franchise Ass’n, Inc. v. City of Seattle, 803 F.3d at 408; see also

11   Arcara v. Cloud Books, Inc., 478 U.S. 697, 705 (1986) (rejecting the “fallacy” of “seeking to use

12   the First Amendment as a cloak for obviously unlawful” activity by “attributing protected

13   expressive attributes to that conduct”).

14                  2.      RealPage Cannot Show a Likelihood of Success on its First
                            Amendment Claim Because the Ordinance Applies Only to Algorithms
15                          that Facilitate Direct or Indirect Coordination Between Competitors.
16          RealPage’s supplemental declaration confirms that it has not shown that the Ordinance’s

17   prohibited conduct is entitled to First Amendment protection, which is a necessary condition to

18   establish a colorable claim. Because RealPage mounts an affirmative challenge, it is RealPage’s

19   burden to show that it has a colorable claim that the Ordinance violates its First Amendment

20   rights.5 E.g., Smith v. Helzer, 95 F.4th 1207, 1214 (9th Cir.), cert. denied sub nom. Smith v.

21   Stillie, 145 S. Ct. 567 (2024); B & L Prods., Inc. v. Newsom, 104 F.4th 108, 112 (9th Cir. 2024)

22
     5
23     In disputing its burden, RealPage ignores that different burdens apply to an affirmative motion
     for a TRO and an enforcement action. RealPage relies on inapposite cases where the government
24   was enforcing a law against a private party. See Illinois, ex rel. Madigan v. Telemktg. Assocs.,
     Inc., 538 U.S. 600, 620 n.9 (2003) (state attorney general sued professional fundraisers for
25   allegedly fraudulent representations); Freedman v. Maryland, 380 U.S. 51, 58 (1965) (appeal
     from conviction for exhibiting film not approved by censorship board); Speiser v. Randall, 357
26   U.S. 513, 525–26 (1958) (appellants challenged denial of tax exemption). In the posture of an
     affirmative facial challenge, it is the moving party that “bears the initial burden of making a
27   colorable claim that its First Amendment rights have been infringed, or are threatened with
     infringement.” Smith, 95 F.4th at 1214. Here, that includes showing that the First Amendment
28   applies at all—i.e., that the Ordinance does more than proscribe antitrust violations that are not
     protected by the First Amendment.
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 1   (“As the party asserting such a claim, B&L bears the burden ‘to demonstrate that the First

 2   Amendment even applies.’” (quoting Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288,

 3   293 n.5 (1984))). If the Ordinance applies to RealPage’s software, and if the Ordinance regulates

 4   speech, which the City disputes, RealPage still must establish that the Ordinance burdens lawful

 5   speech. Otherwise, the First Amendment does not protect it, and RealPage has no colorable First

 6   Amendment claim. See, e.g., Pittsburgh Press Co., 413 U.S. at 388–89.

 7          For this reason, whether RealPage’s software does or does not violate the antitrust laws is

 8   immaterial to resolving this TRO. If it does violate the antitrust laws, its speech is clearly not

 9   protected by the First Amendment. But even if RealPage’s software does not violate the antitrust

10   laws, it would still need to show that the Ordinance targets lawful speech—i.e., that the

11   Ordinance covers protected speech beyond that which facilitates anticompetitive conduct. See,

12   e.g., B & L Prods., Inc., 104 F.4th at 113 (examining text of challenged statutes to determine

13   whether they restricted constitutionally protected speech). It cannot do so. As RealPage all but

14   concedes, the Ordinance prohibits only those algorithms that use data in “direct or indirect

15   coordination” with competitors.

16          The thrust of RealPage’s supplementary filing is that it has redesigned its software to no

17   longer involve any indirect or direct coordination. See ECF No. 42; Supp. Dreyfuss Decl. ¶¶ 8,

18   12, 14. Ample evidence undermines this contention, but even if RealPage’s assertions are

19   credited, its argument is self-defeating. If RealPage’s software does not facilitate competitor

20   coordination, it would fall outside the scope of the Ordinance, and RealPage would have no

21   colorable claim that the Ordinance violates its First Amendment rights. RealPage must have

22   standing to assert a pre-enforcement challenge, which requires RealPage to show both that (1) it

23   intends to engage in a course of conduct arguably affected with a constitutional interest; and (2)

24   that such conduct is proscribed by the Ordinance. Nat’l Shooting Sports Found., Inc. v.

25   Ferguson, 722 F. Supp. 3d 1150, 1156 (E.D. Wash. 2024) (citing Tingley v. Ferguson, 47 F.4th

26   1055, 1067 (9th Cir. 2022)). If RealPage does not intend to sell software that facilitates direct or

27   indirect coordination between landlords, it cannot satisfy the second prong because it does not

28   intend to engage in conduct proscribed by the Ordinance. And if, conversely, it is selling

                                                 8
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 1   software that facilitates illegal coordination, then it cannot satisfy the first prong because its

 2   conduct is not constitutionally protected.

 3           This TRO motion thus turns on the question: whether RealPage’s planned conduct is both

 4   lawful and prohibited by the Ordinance. See Lopez v. Candaele, 630 F.3d 775, 787 (9th Cir.

 5   2010); Christian Action League of Minn. v. Freeman, 31 F.4th 1068, 1072 (8th Cir. 2022) (“If the

 6   Statute doesn’t prohibit [the plaintiff’s] conduct, then [the plaintiff] isn’t affected by the Statute

 7   and has no injury in fact.”). RealPage fails to meet this burden. The present record thus

 8   precludes a colorable First Amendment claim—and therefore a TRO—in either situation: either

 9   (1) the Ordinance does not apply because the software does not involve indirect or direct

10   coordination among competitors; or (2) the First Amendment does not apply because any

11   associated speech would be unprotected speech in furtherance of an antitrust violation.

12           In short, the Court need not delve into the details of RealPage’s declaration to decide this

13   TRO. RealPage’s First Amendment claim necessarily fails at the outset because it cannot show

14   that its software is both protected by the First Amendment and proscribed by the Ordinance.

15           B.      RealPage’s Declaration Has Many Holes and Suggests That It May Be
                     Facilitating Anticompetitive Conduct.
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             As explained above, the Ordinance only restricts products that violate antitrust law by
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     using algorithms that recommend prices in direct or indirect coordination with one or more
18
     competitors. See Ordinance § 13.63.020(A). The Court need not find that RealPage is likely
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     violating antitrust law to determine that the Ordinance, which targets conduct prohibited by the
20
     antitrust laws, does not burden lawful speech (i.e., speech that does not further an antitrust
21
     violation).
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             However, even if the Court were to conclude that the Ordinance covers conduct beyond
23
     antitrust violations, and that such coverage could implicate protected speech, RealPage would still
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     bear the burden of showing that its software does not violate the antitrust laws. See B & L Prods.,
25
     Inc., 104 F.4th at 112 (plaintiff seeking injunction bears the burden of showing “that the First
26
     Amendment even applies” (citation omitted)); United States v. Milk, 66 F.4th 1121, 1134 (8th Cir.
27
     2023) (burden on challenger to show that First Amendment protected speech that potentially
28
     violated the federal obstruction-of-justice statute).
                                                   9
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 1          RealPage cannot meet this burden either. Even at this early stage, there is ample reason to

 2   believe that RealPage may be committing such a violation. The record is replete with evidence

 3   that RealPage and landlords contract with the intent to raise prices by using RealPage’s revenue

 4   management software. As detailed above, RealPage currently advertises on its website that its

 5   software allows landlords to maximize rents and outperform the competitive market. See supra at

 6   5. The statements from RealPage executives and landlord customers cited in the City’s

 7   opposition brief, ECF No. 30 at 10–11, are additional examples manifesting intent to raise prices

 8   to supracompetitive levels.

 9          Furthermore, by its own admission, RealPage’s current products, specifically AIRM’s AI

10   features use machine-learning to generate price recommendations based on the non-public

11   competitor data with which the algorithm was trained. See Supp. Dreyfuss Decl. ¶ 11.6 While

12   the declaration claims that raising rents, as its own software recommends, is “optional,” it does
13   not acknowledge the evidence that RealPage uses both technological features within its software
14   and pressure from sales representatives’ efforts to ensure that landlords are indeed accepting the
15   recommended rates. See supra at 5. RealPage’s descriptions of its products, along with the
16   information it conspicuously omits, only underscore potential antitrust concerns rather than
17   allaying them.
18          C.        Risk of Irreparable Harm
19          The City Attorney has committed not to enforce the Ordinance against RealPage until a
20   motion for preliminary injunction can be resolved, or for 60 days if no motion for a preliminary

21   injunction is filed within that time. Brown Decl. ¶ 6. This commitment eliminates any risk

22   whatsoever of harm to RealPage in the interim period until the Court can decide a motion for

23   preliminary injunction. Accordingly, a TRO would serve no purpose in this case. See Nat’l Urb.

24   League v. Ross, 484 F. Supp. 3d 802, 805 (N.D. Cal. 2020) (“Temporary restraining orders

25   ‘serv[e] the[ ] underlying purpose of preserving the status quo and preventing irreparable harm

26
     6
27     RealPage’s executive opines that Gibson v. Cendyn Grp., LLC, No. 2:23-CV-00140-MMD-
     DJA, 2024 WL 2060260 (D. Nev. May 8, 2024), held that “such kinds of model training cannot
28   constitute an antitrust violation,” but the Gibson order does not discuss model training, and it
     repeatedly and specifically distinguishes the RealPage case, see id. at *4 & n.7, *6.
                                                10
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 1   just so long as is necessary to hold a hearing, and no longer.’”) (citation omitted); Jones v.

 2   H.S.B.C. (USA), 844 F. Supp. 2d 1099, 1100 (S.D. Cal. 2012) (“The underlying purpose of a

 3   TRO is to preserve the status quo and prevent irreparable harm before a preliminary injunction

 4   hearing may be held.”).

 5          Even absent the City’s nonenforcement agreement, RealPage’s failure to make out a

 6   colorable First Amendment claim would defeat its claim of irreparable harm. For the reasons

 7   discussed above and in the City’s opposition brief, RealPage has not shown any speech prohibited

 8   by the Ordinance falls within the scope of First Amendment protections. Alternatively, if

 9   RealPage’s software involves no direct or indirect coordination with competitors, the Ordinance

10   does not apply to it. And, in disclaiming any intent to engage in the proscribed conduct, it cannot

11   challenge the Ordinance.

12          D.      Balance of the Equities and Public Interest
13          Finally, the balance of the equities and the public interest, which merge in this case, weigh

14   in favor of denying a TRO. See Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir.

15   2014). On the record before the Court, RealPage has not shown that the Ordinance proscribes

16   lawful, protected speech. See Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 867 (9th Cir.

17   2017) (“[H]arm caused by illegal conduct does not merit significant equitable protection.”).

18   Moreover, if RealPage has redesigned its software to no longer facilitate unlawful coordination,

19   then its software is outside the scope of the Ordinance, and the Ordinance will serve to protect it

20   from competitors who do seek to violate antitrust laws. See Su v. L & Y Food, Inc., 728 F. Supp.

21   3d 1050, 1052 (C.D. Cal. 2024) (noting the public interest of protecting “law-abiding

22   competitors” from unfair competition).

23                                             CONCLUSION
24          For the foregoing reasons, the City respectfully requests that the Court deny RealPage’s

25   motion for a TRO. The City also respectfully requests that the Court set a deadline by which

26   RealPage must file any motion for preliminary injunction, after which the parties shall meet and

27   confer regarding a proposed schedule for any necessary expedited discovery and a proposed

28   schedule for briefing the motion.

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                 DEFENDANT’S RESPONSE TO PLAINTIFF’S SUPPLEMENTAL DECLARATION
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